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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA
                                                        Criminal Action No. 23-490 (SHS)
        v.
                                                           Document Electronically Filed
 ROBERT MENENDEZ, et al.,
                                                      NOTICE OF OMNIBUS PRETRIAL
                Defendants.                                    MOTIONS



       PLEASE TAKE NOTICE that Defendant Wael Hana hereby moves before the Honorable

Sidney H. Stein, United States District Judge for the Southern District of New York, at the Daniel

Patrick Moynihan United States Courthouse, 500 Pearl Street, New York, New York 10007, for

the entry of an order dismissing Counts 1, 2, and 4 of the Second Superseding Indictment (ECF

No. 115) [the “Indictment”], or in the alternative (a) striking superfluous allegations in Paragraph

15 from the Indictment, (b) ordering the Government to produce a bill of particulars; (c)

suppressing evidence seized pursuant to certain search warrants issued to Mr. Hana’s electronic

accounts and devices; and (d) ordering a Franks hearing with regard to whether evidence obtained

as a result of certain other search warrants should be suppressed.

       PLEASE TAKE FURTHER NOTICE that in support of this motion, Defendant Mr.

Hana shall rely upon the accompanying Memorandum of Law in Support of Omnibus Pretrial

Motions, Declaration of Lawrence S. Lustberg, with exhibits appended thereto, and Declaration of

Wael Hana.

       PLEASE TAKE FURTHER NOTICE that oral argument is requested.

       PLEASE TAKE FURTHER NOTICE that a proposed Order is submitted herewith.
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       PLEASE TAKE FURTHER NOTICE that Mr. Hana also joins in all applicable motions

filed by his co-defendants.

Dated: January 15, 2024                      Respectfully submitted,

                                             s/ Lawrence S. Lustberg
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